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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                         EASTERN DIVISION

JUAN MEDINA,                                            )
                                                        )
                 Plaintiff,                             )
                                                        )       No.
        v.                                              )
                                                        )
RELIABLE RECOVERY SERVICES, INC.,                       )
PRA LOCATION SERVICES, LLC                              )
COMMUNITY LOANS OF AMERICA, INC.,                       )       JURY DEMANDED
                                                        )
                 Defendants.                            )

                                               COMPLAINT

        1.       This is an action pursuant to the Fair Debt Collection Practices Act ("FDCPA") and

Illinois state law arising out of the Defendants' wrongful repossession of the Plaintiff's automobile

when they held no lien on the vehicle and effectively repossessed a vehicle belonging to a party other

than the purported debtor.

                                           Jurisdiction and Venue

        2.       Federal question jurisdiction exists pursuant to 28 U.S.C. § 1331 because Plaintiff’s

claims arise under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

Supplemental jurisdiction over Plaintiff’s state law claims exists under 28 U.S.C. § 1367(a).

        3.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), as the acts and

transactions that give rise to this action occurred, in substantial part, in this district. Venue is also

proper in this district since Defendants can be found, have agents, and/or transact business in this

district.

                                                    Parties

        4.       Plaintiff Juan Medina is a citizen of Illinois who resides within this district.



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        5.       Plaintiff is a "consumer," as that term is defined under the FDCPA, 15 U.S.C. §

1692a(3), as he is a natural person who was alleged to owe the debt described herein.

        6.       Defendant Community Loans of America, Inc. (hereinafter “CLA”) is headquartered at

8601 Dunwoody Pl, Ste 406 Atlanta GA, 30350-2550 and further conducts business under various

names and subsidiaries such as Alabama Title Loans, Inc., Carolina Title Loans, Inc., Delaware Title

Loans, Inc., Fast Auto And Payday Loans, Inc., Fast Auto Loans, Inc., Idaho Title Loans, Inc., Illinois

Title Loans, Inc., Mississippi Title Loans, Inc., and Nevada Title and Payday Loans, Inc.

        7.       CLA is and was at all relevant time doing business in the State of Illinois and in this

district.

        8.       CLA engages, inter alia, in the leasing and financing of motor vehicles to the public and

upon information and belief held or holds a debt due by a third party.

        9.       CLA is responsible for the reckless and tortious conduct of its agents, PRA Location

Services, LLC, and Reliable Recovery Services, Inc.

        10.      Defendant PRA Location Services, LLC (hereinafter "PRA"), is a Delaware corporation

and a subsidiary of the PRA Group, whose principal place of business is in Norfolk, Virginia.

        11.      PRA regularly and actively conducts skip tracing, repossession services, and other debt

collection activity in the State of Illinois and in this district.

        12.      Defendant Reliable Recovery Services, Inc. (hereinafter “Reliable Recovery”) is an

Illinois corporation doing business in this district.

        13.      Upon information and belief, Defendant Reliable Recovery’s principal business is

vehicle repossessions on behalf of purported secured creditors.

                                              Factual Allegations

        14.      On January 30, 2014, Plaintiff purchased a 2007 Chevrolet Cobalt, VIN

1G1AL55F277267656 ("the Vehicle").

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       15.     Plaintiff's financing on the Vehicle was provided by Westlake Financial Services and it

was and has been the record lienholder on his vehicle from March 10, 2014, to the present.

       16.     At the time of the repossession, Plaintiff had no legal relationship with Defendant CLA.

       17.     CLA did not purchase, service, or otherwise administer any debt owed by Plaintiff

pertaining to this vehicle.

       18.     Therefore, Plaintiff could not be in default of any obligation to CLA, nor could CLA

have a valid security interest in Plaintiff's automobile.

       19.     Upon information and belief, CLA was the finance company for a third party whose

debt was either secured by a similar vehicle or a vehicle with a similar VIN.

       20.     On February 6, 2015, Reliable Recovery repossessed the Vehicle.

       21.     Reliable Recovery was retained and directed to perform the repossession by PRA.

       22.     Upon information and belief, PRA was retained by CLA to conduct skip tracing and

contract for the recovery of the collateral on CLA's loan to an unrelated third party.

       23.     CLA, PRA, and Reliable sought to repossess, and did repossess, the Vehicle to satisfy

the debts of said third party.

       24.     Because none of these defendants had a valid lien, CLA, PRA, and Reliable Recovery

had no authority to repossess the Vehicle.

       25.     Upon PRA's instruction, Reliable returned the Vehicle to Plaintiff on February 9, 2015.

       26.     Upon inspection after having the vehicle returned, Plaintiff observed that the Vehicle

sustained damaged during the repossession process and/or while in the possession, custody, and control

of Reliable.

       27.     Plaintiff further suffered actual damages, including, but not limited to, vehicle damage,

repair costs, lost/damaged items within the vehicle, loss of use, and mental anguish and emotional



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distress damages resulting from her feelings of fear, humiliation, stress, frustration, and aggravation at

having his automobile taken unlawfully.

                                               COUNT I
                          Violations of the Fair Debt Collection Practices Act
                                  Against Reliable Recovery and PRA

        28.     Plaintiff restates, re-alleges, and incorporates herein by reference paragraphs 1-27 as if

fully set forth in this Count.

        29.     Reliable Recover and PRA are "debt collectors" pursuant to 15 U.S.C. § 1692a(6) for

purposes of 15 U.S.C. § 1692f(6), in that they regularly use and used instrumentalities of interstate

commerce in their respective businesses, the principal purposes of which are the enforcement of

security interests.

        30.     The Fair Debt Collection Practices Act, (“FDCPA”), prohibits a debt collector from

taking or threatening to take any non-judicial action to affect the repossession of a vehicle when there

is no right to repossess the vehicle. 15 U.S.C. § 1692f(6).

        31.     Specifically, § 1692f(6) prohibits:

               (6)      Taking or threatening to take any nonjudicial action to effect dispossession or
                        disablement of property if—

                        (A)      there is no present right to possession of the property claimed as
                                 collateral through an enforceable security interest;

                        (B)      there is no present intention to take possession of the property; or

                        (C)      the property is exempt by law from such dispossession or disablement.

        32.     Because CLA did not have a lawful security interest in Plaintiff's vehicle, Reliable

Recovery and PRA did not have the right to effectuate non-judicial repossession of the Vehicle on its

behalf pursuant to 810 ILCS § 5/9-609.

        33.     As a result, Defendants Reliable Recovery and PRA violated § 1692f(6) of the FDCPA

for their efforts to enforce CLA’s purported, but non-existent, security interest in the Vehicle because

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CLA had no valid security interest in the property and therefore, no present right to possession of the

Vehicle.

        34.      As a direct result of Defendants’ unlawful repossession, Plaintiff suffered actual

damages including, but not limited to, vehicle damage, repair costs, lost/damaged items within the

vehicle, loss of use, and mental anguish and emotional distress damages resulting from her feelings of

fear, humiliation, stress, frustration, and aggravation at having his automobile taken unlawfully.

        WHEREFORE, Plaintiff asks that this Court enter judgment in his favor and against Defendants

Reliable Recovery Services, Inc. and PRA Location Services, Inc., and award:

        (A)      Actual damages in an amount to be proven at trial;

        (B)      Statutory damages under 15 U.S.C. § 1692k;

        (C)      Reasonable attorneys’ fees and costs; and

        (D)      Any other relief the Court deems just and appropriate.

                                                COUNT II
              Violations of the Illinois Consumer Fraud & Deceptive Business Practices Act,
                                   815 ILCS 505/2, Against All Defendants

        35.      Plaintiff restates, re-alleges, and incorporates herein by reference paragraphs 1-34 as if

set forth fully in this Count.

        36.      Section 2 of the Illinois Consumer Fraud and Deceptive Business Practices Act, 815

ILCS 505/2, (“ICFA”), prohibits, inter alia, deceptive and unfair conduct, representations, omissions,

and practices.

        37.      Under the ICFA, an unfair act or practice is one that occurs in the course of trade or

commerce and: (a) offends public policy; (b) is immoral, unethical, oppressive or unscrupulous; or (c)

causes substantial injury to consumers.




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        38.        Moreover, both PRA and Reliable Recovery are subject to the Illinois Collateral

Recovery Act, 225 ILCS § 422/1 et seq., by virtue of the definition of "repossession agency" found in

225 ILCS § 442/10.

        39.        The Collateral Recovery Act is an expression of the public policy of Illinois to regulate

entities that undertake repossession activities. 225 ILCS § 422/5.

        40.        The Illinois Commercial Code, 810 ILCS § 5/9-609, provides that only a secured party

has the right to take possession after default.

        41.        Plaintiff was not in default of any financial obligation related to the Vehicle.

        42.        CLA was not a secured party of the Vehicle under the Illinois Commercial Code.

        43.        Nonetheless, CLA and its agents, PRA and Reliable Recovery, undertook to repossess

Plaintiff's car.

        44.        Defendants’ actions constitute an unfair act or practice in, at minimum, the following

ways: (a) it is immoral, unethical, oppressive and unscrupulous, and violates Illinois public policy, to

order the repossession of a vehicle, and actually effectuate said repossession, when no valid security

interest exists; and (b) it is immoral, unethical, oppressive, unscrupulous, and in violation of Illinois

public policy, to cause damage to a repossessed vehicle while in the custody of the repossession agent.

        45.        Defendants acted willfully and/or recklessly, without regard for Plaintiff's rights as the

lawful owner of the Vehicle.

        46.        Defendants acted in the course of trade or commerce in that the repossession was

designed, upon information and belief, to satisfy consumer debts.

        47.        This is particularly true where a simple title search would have revealed Plaintiff as the

owner of the Vehicle, with a different secured party holding the lien to the vehicle, for over a year prior

to the repossession.



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       48.     Moreover, PRA and Reliable Recovery were out of compliance with the Collateral

Recovery Act at the time they effectuated repossession of the Vehicle.

       49.     Upon information and belief, PRA was not licensed with the Illinois Commerce

Commission at the time of this incident.

       50.     Moreover, it is against the Collateral Recovery Act to repossess a vehicle for which the

lender has no valid security interest. See 225 ILCS § 422/10 (definition of "collateral" and "legal

owner"); § 422/110(a) (repossession under the act applies to "collateral subject to a security

agreement").

       51.     As a proximate result of the foregoing actions, Plaintiff suffered damages, including, but

not limited to, vehicle damage, repair costs, lost/damaged items within the vehicle, loss of use, and

mental anguish and emotional distress damages resulting from her feelings of fear, humiliation, stress,

frustration, and aggravation at having his automobile taken unlawfully.

       52.     Defendants’ actions render them liable to Plaintiff not only for actual damages, but also

punitive damages, costs and attorneys’ fees.

       WHEREFORE, Plaintiff asks that this Court enter judgment in his favor and against Defendants

Reliable Recovery Services, Inc., PRA Location Services, Inc., and Community Loans of America,

Inc., jointly and severally, and award:

       (A)     Actual damages in an amount to be proven at trial;

       (B)     Punitive damages in an amount to be proven at trial;

       (C)     Reasonable attorneys’ fees and costs; and

       (D)     Any other relief the Court deems just and appropriate.




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                                                COUNT III
                                            Trespass to Chattel
                                           Against All Defendants

        53.     Plaintiff restates, re-alleges, and incorporates herein by reference paragraphs 1-52 as if

set forth fully in this Count.

         54.    Defendants' conduct, as described herein, wrongfully interfered with Plaintiff’s

 personal, physical property, the Vehicle, to which he held clear title and Defendants held no

 possessory interest.

         55.    Defendants’ trespass to the Vehicle was intentional, unauthorized, and substantial, and

 caused it to be damaged.

         56.    Under Illinois law, this wrongful interference with Plaintiff's personal possessory rights

 in his vehicle rises to the level of a trespass to chattels.

        57.     As a result of Defendants' trespass, Plaintiff suffered actual damages, including, but not

limited to, vehicle damage, repair costs, lost/damaged items within the vehicle, loss of use, and mental

anguish and emotional distress damages resulting from her feelings of fear, humiliation, stress,

frustration, and aggravation at having his automobile taken unlawfully.

        WHEREFORE, Plaintiff asks that this Court enter judgment in his favor and against Defendants

Reliable Recovery Services, Inc., PRA Location Services, Inc., and Community Loans of America,

Inc., jointly and severally, and award:

        (A)     Actual damages in an amount to be proven at trial;

        (B)     Punitive damages; and

        (C)     Costs and any other relief the Court deems just and appropriate.

                                              JURY DEMAND

                     Plaintiff demands a trial by jury on all causes of action so triable.



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                             DOCUMENT PRESERVATION DEMAND

       Plaintiff hereby demands that Defendants take affirmative steps to preserve all recordings, data,

documents, and all other tangible things that relate to Plaintiff, the events described herein, any third

party associated with any telephone call, campaign, account, sale or file associated with Plaintiff, and

any account or number or symbol relating to them. These materials are likely very relevant to the

litigation of this claim. If Defendants are aware of any third party that has possession, custody, or

control of any such materials, Plaintiff demands that Defendants request that such third party also take

steps to preserve the materials. This demand shall not narrow the scope of any independent document

preservation duties of the Defendants.



                                                              Respectfully submitted,

                                                              By: /s/ Lance A. Raphael
                                                              One of Plaintiff’s Attorneys

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